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MlJNTASIR A. SHAMSIDDEEN
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P.O. BOX 561293

    

Los ANGELES, cA 90056l _` " v

(310) 712 - 5449

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

C¥aslel@oj# 8 3 l»-JA/<(SS)<)

MUNTASlR A. SHAMSIDDEEN, an )
lndividual; )
Plaintiff, ) COMPLAINT FOR:
)
VS. ) Unlawful DEBT COLLECTION
)
GRANT & WEBER, collection ) PRACTICES
Corporation; and DOES lthrough 10 )
Inclusive, ) FAIR CREDIT REPOR'I`ING ACT
)
)
) Jury Trial Demanded: Yes
DEFENDANT(S). ) -
)

 

 

 

I. COMPLAINT
INTRODUCTION

l. This is an action for damages brought by an individual consumer against
Defendants for violations of the F air Debt Collection Practices Act, 15 U.S.C. §
1692, et seq. (FDCPA) and the California Rosenthal Act, Civil Code § 1788 et

seq. ( Rosenthal Act ) both of which prohibit debt collectors from engaging in

abusive, deceptive, and unfair practices.

PLAINT[FF MUNTASlR A. SHAMSlDDEEN COMPLAINT

 

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2. This is an action for damages brought by an individual consumer against
Defendants for violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et
seq. (FCRA) which prohibits furnishers from reporting false and inaccurate
information

II. JURISDICTION AND VENUE
3. This Court has jurisdiction under: 15 U.S.C. sec. 1692 k (d), 28 U.S.C.
sec. 1331, and 28 U.S.C. sec. 1337. Supplemental jurisdiction exist for the state
law claims pursuant to 28 U.S.C. § 1367. Venue is proper pursuant to: 28 U.S.C. §
1391(b) where that the defendant transact business here and the conduct

complained of occurred here.

III. PARTIES

4. Plaintiff MUNTASlR A. SHAMSIDDEEN is a natural person resided
at California. Plaintiff is a consumer within the meaning of 15 U.S.C. sec. 1692 a
(3), 15 U.S.C. § 1681 a (c).

5. Defendant: GRANT & WEBER is a “debt collectol” within the
meaning of 15 U.S.C. sec 1692 a (6); a furnisher of information within the
meaning 15 U.S.C. § 1681 a (b) doing the business of collecting debts in
California, operating from an address: 26575 AGOURA RD. CALABASAS,
CALIFORNIA 91302, and 2893 SUNRISE BLVD., suite 210 RANCHO

CORDOVA, CA 95742.

PLAIN'I`IFF MUNTASlR A. SHAMSIDDEEN COMPLAINT 2

 

 

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6. Defendants are engaged in the collection of debts from consumer using
the mail and telephone. Defendants regularly engaged as furnishers of
consumer Transunion, Experian, Equifax credit file. Defendant regularly attempt
to collect consumer debt alleged to be due to another. Defendants are “debt
collectors” as defined by the FDCPA, 15 U.S.C. § 1692a (6), by the Rosenthal
Act, California Civil Code 1788.2 (c)., and hirnishers of information defined by
the 15 U.S.C. § 1681s-2.

7. Defendants are all entities or individuals who contributed to or
participated in, or authorized the acts or conspired with the name Defendants to
commit the acts and do the things complained of which caused the injuries and
damages to Plaintilf as set forth below. Each of the parties, named and fictitious,
acted as principal and agent, each of the other, and combined and concurred
each with the other in committing the acts that injured the Plaintiff.

8. The true names and capacities, whether individual, corporate (including
officers and directors thereof), associate or otherwise of Defendant sued herein
as DOES 1 thru 5, inclusive, are unknown to plaintiff, who therefore sues these
Defendants by such fictitious names. Plaintiff is informed and believes, and all
alleges that each Defendant designated as DOE is involved in or is in some
manner responsible as a principal, beneficiary, agent, co-conspirator, joint

venturer, alter ego, third party beneficiary, or otherwise, for the agreements,

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transactions, events and/or acts hereinafter described, and thereby proximately
caused injuries and damages to Plaintiff. Plaintiff requests that when the true
names and capacities of these DOE Defendants are ascertained, they may be
inserted in all subsequent proceedings, and that this action may proceed against
them under their true names.

9. Plaintiff is a “consumer “ as deiined by the FDCPA, 15 U.S.C. 1692a(3).

10.The purported debt that Defendants attempted to collect from Plaintiff was
a “debt” as defined by the FDCPA, 15 U.S.C. § 1692a(5).

11.P1aintiff is a “debtol” as defined by the Rosenthal Act, California Civil
Code 1788.2(h).

12. The purported debt which defendants attempted to collect from Plaintiff
was a “consumer debt” as delined by the Rosenthal Act, California Civil Code §
1 788.2(f)

13. Experian, Transunion, Equifax is a credit reporting agency within the
meaning FCRA 15 U.S.C. § 16813(f)

14. Consumer credit report is a consumer report within the meaning of the

FCRA 15 U.S.C. § 1681 a (d)

15. FCRA 15 U.S.C. § 1681b defines the permissible purposes for which a

person may obtain a consumer credit report. Such permissible purposes as

defined by 15 U.S.C. § 1681b are generally if the consumer makes applications

PLA[NTIFF MUNTASlR A. SHAMSIDDEEN COMPLA]NT 4

 

 

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for credit, makes application for employment, for under writing of insurance
involving the consumer, or is offered a bonaiied offer of credit as a result of the
injury.

16.P1aintiff has never had any business dealing or any accounts with made
applications for credit from, made application for employment with, applied for

insurance from or received a bonafied offer of credit ii'om the defendant .

IV. STATEMENT OF FACTS
17.0n July 13, 2012 Plaintiff upon requested Equifax, Transunion, Experian
consumer credit report; Plaintiff discovered entries by entities had no knowledge
of any business relationship with named defendant in the report.

18. On June 18, 2011 and again January 18, 2012 Defendant obtained
Plaintiff consumer credit report from the 3 credit reporting bureau agencies
without consent or permissible purposes in violation of the FCRA 15 U.S.C. §
168 1b

19. Defendant GRANT & WEBER prepared and issued consumer credit
reports concerning plaintiff which included in accurate information acct. #

008225156... in the amount $1,000.00 in violation 15 U.S.C. sec. 1681 g (d)
(2) 15 U.S.C. sec. 1692 e (10).
20. Defendant GRANT & WEBER prepared and issued 2nd consumer credit

reports concerning plaintiff which included in accurate information acct. #

PLAINTIFF MUNTASlR A. SHAMSlDDEEN COMPLA[NT 5

 

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008718506. . . in the amount $500.00 in violation 15 U.S.C. sec. 1681 g (d)
(2) 15 U.S.C. sec. 1692 e (10).

21 . Defendant issued and re-aged plaintiff account # 008225156, & #
008718506. . .by updating the date of last activity on credit reporting in hopes of
keeping negative information on plaintiff consumer credit report longer. FCRA
sec. 605 (c ) running of the reporting period. Said actions thereby damaged
Plaintiff by causing Plaintiff credit score to decline resulting in Plaintiff having

to pay higher insurance premiums

22. On July 17, 2012 Plaintiff sent via United States Postal Service
Certified Mail letters disputing inaccurate information to 3 credit reporting
bureau agencies. On July 27, 2012 Plaintiff sent 1St notice to GRANT &
WEBER requesting formal debt Validation upon 30 day notice to reply in
accordance with (FDCPA)15 U.S.C. sec. 1692g, 15 U.S.C. sec. 1681i, also

informing defendant of their violations of the FCRA.

23. In letters dated July 31, 2012., and August 1, 2012 Defendant GRANT &
WEBER responded with conjirmation letters to Plaintiff certified letter dated
July 26, 2012. Defendant GRANT & WEBER requested that Plaintiff contact
their office to discuss settlement of an alleged debt in the amount of $1,000.00

hand signed by R. Mendoza dated 8/ 1, 2012, letter #2 by S. PRICE 7/31, 2012.

PLAINTlFF MUNTASlR A. SHAMSIDDEEN COMPLAINT 6

 

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24. Defendant GRANT & WEBER letter # 3 requested that Plaintiff contact
their office to discuss settlement of an alleged debt in the amount of $500.00 by

J. RAMOS 7/31, 2012 that Defendants claim Plaintiff owed to them.

25. GRANT & WEBER claimed to have purchased an allegedly delinquent

Olympia Medical Center account.

26, Plaintiff did/do not believe that Plaintiff owed the alleged debt to
GRANT & WEBER ; moreover Plaintiff had no way of determining whether
the amount GRANT & WEBER demanded was a fair and accurate calculation

of the OLYMPIA MEDICAL CENTER account.

27. Plaintiff in a good faith effort to allow defendant GRANT & WEBER
ample opportunity to validate alleged debt, and take notice of their violations of
the FCRA. On August 28, 2012 Plaintiff sent second letters via certified mail

upon 10 day notice response. Defendant GRANT & WEBER have been regularly
reporting a collection account on Plaintiff consumer reports credit history
inaccurater without validating the alleged debt U.S. COURT OF APPEALS
NIN'IH CIRCUIT No. 00-15946 Nelson V. CHASE MANHATI`AN. Defendant
violated 15 U.S.C. sec. 1692 e (2) by falsely representing the character, amount,

or legal status of any debt.

PLAINTIFF MUNTASlR A. SHAMSIDDEEN COMPLA]NT 7

 

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28. As a result of the acts alleged above, Plaintiff suffered increased
symptoms of chronic health conditions including high blood pressure, severe
stress related symptoms, including but not limited to nervousness, worry, severe
unhappiness, loss of appetite, weight loss, and interference with intimate
relationship.

29. At no time did Plaintiff give his consent for GRANT & WEBER to

acquire Plaintiff consumer credit report fi°om any credit reporting agency.

30. Discovery of violations brought forth herein occurred in June 2012 and
and are within the statute of limitation, as defined in the FCRA 15 U.S.C. §

1681p; FDCPA 15 U.S.C. § 1692 k (d)

V. CAUSES OF ACTION

FIRST CAUSE OF ACTION
( As against Defendant forViolations of FDCPA)
(As against Defendant(s): GRANT & WEBER

31. Plaintiff re-alleges and incorporates by reference all of the foregoing

paraglaphs-
32.Defendants violated the FDCPA. Defendants violations include, but are

not limited to, the following:

PLAINTIFF MUNTASlR A. SHAMSIDDEEN COMPLAINT

 

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(a) The Defendants violated 15 U.S.C. § 1692d by engaging in conduct
the natural consequence of which is to harass, oppress, and abuse persons in
connection with the collection of the alleged debt;

(b) The Defendant violated 15 U.S.C. § 1692e(2) by misrepresenting the
legal status of the debt;

(c ) The Defendant violated 15 U.S.C. § 1692e(10) by using a false
representation and deceptive means to collect or attempt to collect any debt or to
obtain information regarding a consumer;

(d) The Defendant violated 15 U.S.C. § 1692 f by using unfair or
unconscionable means to collect or attempt to collect a debt;
(e) The Defendant violated 15 U.S.C. § 1692f(1) by attempting to

collect an amount not permitted by law.

33. As a result of the above violations of the FDCPA, Defendants are liable
to the Plaintiff for Plaintiff’ s actual damages, statutory damages, and court fees

and costs Pursuant to 15 U.S.C. § 1692k

PLA[NTIFF MUNTASlR A. SHAMSlDDEEN COMPLA[NT

 

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SECOND CAUSE OF ACTION
(As against Defendant forViolation of the Rosenthal Act)

As against Defendant(s): GRANT & WEBER

34. Plaintiff re-alleges and incorporates by reference all of the foregoing
paragraphs-
35 . Defendants violated the Rosenthal Act, by including, but not limited to,
the following:
(a) the Defendant violated California Civil Code § 1788.17 by failing
to comply with the FDCPA as alleged above;
(b) Defendant acts as described above were done intentionally with the
purpose of coercing Plaintiff to pay the alleged debt.
(c)Defendant violations of the Rosenthal Act were willful and knowing.
Defendants are therefore liable to Plaintiff for Plaintiff’s actual damages,
statutory damages, court fees and costs pursuant to California Civil Code §
l 788 .30.
THIRD CAUSE OF ACTION
(As against Defendant for violation of the FCRA)
As against Defendant(s): GRANT & WEBER

36. Plaintiff re-alleges and incorporates by reference all of the foregoing

paragraph-

PLAINTIFF MUNTASlR A. SHAMSIDDEEN COMPLAINT 10

 

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37. Defendant violated the FCRA, Defendant violation include, but are not
limited to, the following:

(a) The Defendant violated FCRA 15 U.S.C. § 1681b (f) by obtaining
Plaintiff’s consumer report without a permissible purpose as defined by 15
U.S.C. § 1681b.

(b) The Defendant is a fumisher of information within the meaning of

the FCRA 15 U.S.C. § 168ls-2
(c ) Plaintiff is a consumer within the meaning of the FCRA 15 U.S.C.
§ 1681a (c)

38. Plaintiff did not lnitiate a firm offer of credit (loan, credit card) with
defendant. Plaintiff did not Initiate firm offer of insurance with defendant.
Plaintiff did not initiate employment with defendant Defendant was not directed
by a court order to pull plaintiff consumer report. Defendant is no gov’t agency
under USA Patriot Act reply: UNITED STATES v. McNeil 362 F.3d 570 “9th

Circuit Court of Appeals”

39. Actions on the part of defendant demonstrates a willful disregard for
federal law and constitutes a blatant attempt to injure or ruin the credit rating of
plaintiff since defendant has demonstrated an inability to validate the alleged

debt and subsequently attempted coerce payment. 15 U.S.C sec. 1681 .

PLAINTlFF MUNTASIR A. SHAMSIDDEEN COMPLAINT ll

 

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V. REQUEST FOR RELIEF

40. That this court grant judgement against defendant for first claim for relief
1) Actual damages determined by jury 2.) Punitive & Statutory damages 15
U.S.C. sec. 1692 d (1) 1692 f (6) Remedies 1692 k, FCRA 1681 $1,000.00 per

statute 3.) legal cost and fees. 4.) Any relief as the court see fit.

41 . That this court grants judgement against defendants GRANT &
WEBER for: second claim for relief 1.) Actual damages to be determined by
Jury 2.) Punitive and Statutory damages FCRA 15 U.S.C. sec.

1681b $1000.00 3.) court fees and cost 4.) Any relief as court see fit.

42. That this court grants judgment against GRANT & WEBER
for: Third claim for relief 1.) Actual damages to be determined by jury 2.)
punitive & statutory damages pursuant 15 U.S.C. sec 16810 $1,000.00 3.)

court fees and cost. 4.) Any relief as court sees fit.

PLAINTIFF MUNTASlR A. SHAMSIDDEEN COMPLAINT 12

 

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Date: ?,... ll»~ ll
sign: Ma¢. W

Print Name: ppm %q r,; rci/lmra '»///ec»z

DEMAND FOR JURY TRIAL

Plaintiff hereby request a jury trial on all issues raised in this complaint

Date: ?-/2 - /,L

Signr %m%/»Ww»

Print Name: /¢L,A ibp ._9/;/»¢ ,'d/e¢,\

PLAINTlFF MUNTASlR A. SHAMSIDDEEN COMPLAINT

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MUNTASlR A. SHAMSIDDEEN
P.O. BOX 561293

LOS ANGELES, CA 90056

GRANT & WEBER
26575 AGOURA RD.
CALABASAS, CA 91302
SEPTEMBER 04, 2012

NOTICE OF PENDING LAWSUIT
To whom it may concem,
Enclosed is a copy of the lawsuit that is being sent prior to filing suit. The case number is: m
an opportunity to amicably cure GRANT & WEBER violations of the Fair Credit Reporting Act
(FCRA) 15 U.S.C. § 1681b, Fair Debt Collection Practices Act (FDCPA)15 U.S.C. § 1692e (10) and the
Rosenthal Consumer Collection Practices Act (RCCPA), CAL. STAT. §1788.

The lawsuit is being filed due to the utter lack of response from your company. When someone is the
victim of consumer collection fraud, it is simply a nightmare trying to get false information removed from
a credit file. I have challenged all of the false listings on my credit file. I have written to GRANT &
WEBER asking for proof of GRANT & WEBER authority to use my information w/o my authorization
or proof to pull my credit profile. I have fully investigated my rights in this matter, I have copies of the
certified letters and dates prepared to bring to Federal Court. I have provided more than sufficient
evidence to get these false inquiry/ accts. removed. Also under the Fair Credit Reporting Act the disputed

items may not appear on my credit report if they cannot be supported by any evidence.

'l`herefore, l demand that GRANT & WEBER pay me: 1.) acct. #008225156... $3,500 check
amount determined for violations, acct. # 008718506... 3,500 check amount determined for
violations total - $7,000.00 2.) a letter removing GRANT & WEBER inquiries and hard

accuonts from my credit profile with 4 credit bureaus. If you do not agree to these terms I intend

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to pursue you in Federal court for violations FDCPA, FCRA, Rosenthal and any individual
names associated w/GRANT & WEBER if available who have also violated these laws on your
behalf . l am giving you five days from receipt of this letter to take the opportunity to provide me with
proof of your actions( i.e. a letter confirming your response, and a check for the required amount) Please
inform me of your intentions immediately If I do not hear from you l assure you that l will follow
through with the actions listed above in full. Your refusal to respond will be taken as a tacit admission
that you are in violation of the law and wish these issues to be adjudicated in Federal Court. l will
entertain your settlement agreement Barring lack of response from you in this matter we will proceed to

the Federal Court to resolve it. Don’t make the mistake of ignoring this!

l can be reached directly at 818-392-9731(ce11) or via email at hoorahbars~l O@yahoo.com. This cell
number is not to be called, shared, or used for any purpose other than to address the matters at hand.

Respectfully,

 

Muntasir A. Shamsiddeen

(Without Prejudice)

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Product Sa\e unit Final
Dsscrlption Cty Frice ?rice
CALABASAS th 91302 $1.70
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Large Env

4.40 oz.

Expacted BeIivery: Thu 09/06/12

fortified $2.95

Label #: 73120470006041780182

$4.65

Issue PVI:

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(Domestic Mail Only; No Insurance Coverage Provided)

     
     
    

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Muntasir A. Shamsiddeen © COP
4108 MARATHON STREET #307 )/
LOS ANGELES, CA 90029

Date: 6/1/2012

GRANT & WEBER
26575 AGOURA RD
CALABASAS, CA 91302-1958

RE: Acct No. 87185****
$500.00

To Whom lt May Concern:

l am formally requesting that you validate all tradellne notations you have
submitted to Transunion, Experian, and Equifax for Muntasir A. Shamsiddeen,
account number 87185****

Due to possible inaccuracies in these CRA reports, l must demand that the
validation l hereby lawfully request be in the form of a notarized statement by a
person with original knowledge of the debt as it was constituted and who can
testify that the debt was incurred legally, was not utilized as a profit-loss tax
deduction during the period it may have been payable, and was not claimed as a
loss with any insuring entity during the period it may have been payable. 1)
ldentify the card holder agreement(s) that applied to the class of accounts that
included the defendant’s account. 2) Assembling the entire set of agreements
that applied to the defendants account during the time period that it was open. 3)
ldentify the additional documents specifying the interest rate and fees terms
applicable to the account 4) Prove that the alleged agreements were actually
offered to the defendant Please be advised that l am not requesting a
verification that you have my mailing address; rather, l am requesting validation,
i.e., competent evidence that l had some contractual obligation sans consumer
protection encumbrance which incurred the original claims associated with this
tradeline. Note that section 1681 s-2(b) of the Fair Credit Reporting Act creates a
cause of action for a consumer against a fumisher of erroneous credit
information (Nelson v. Chase Manhattan).

Please know that you have 30 days from the tracked and confirmed delivery of
this lawful notice to either answer these demands or to remove the associated
negative tradellne notations from the CRA reports. Any other action may
constitute evidence of your intent to abridge one or more civil or other
constitutional rights. Please be further advised that continued unsubstantiated

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reporting of possible inaccuracies to third parties may provide a basis for criminal 010
complaints being filed in accordance with FDCPA, FCRA, and other federal }/

statutes

Muntasir A. Shamsiddeen
4108 MARATHON STREET #307
LOS ANGELES, CA 90029

l look forward to a timely and amicable resolution to this matter.

Sincerely yours,

Muntasir A. Shamsiddeen

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Muntasir A. Shamsiddeen @

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LOSANGELES, CA 90029

Date: 6/1/2012

GRANT & WEBER
26575 AGOURA RD
CALABASAS, CA 91302-1958

RE: Acct No. 82251****
$1,000.00

To Whom lt May Concern:

l am formally requesting that you validate all tradellne notations you have
submitted to Transunion, Experian, and Equifax for Muntasir A. Shamsiddeen,
account number 82251****

Due to possible inaccuracies in these CRA reports, l must demand that the
validation l hereby lawfully request be in the form of a notarized statement by a
person with original knowledge of the debt as it was constituted and who can
testify that the debt was incurred legally, was not utilized as a profit-loss tax
deduction during the period it may have been payable, and was not claimed as a
loss with any insuring entity during the period it may have been payable. 1)
ldentify the card holder agreement(s) that applied to the class of accounts that
included the defendant’s account 2) Assembling the entire set of agreements
that applied to the defendants account during the time period that it was open. 3)
ldentify the additional documents specifying the interest rate and fees terms
applicable to the account 4) Prove that the alleged agreements were actually
offered to the defendant Please be advised that l am not requesting a
verification that you have my mailing address; rather, l am requesting validation,
i.e., competent evidence that l had some contractual obligation sans consumer
protection encumbrance which incurred the original claims associated with this
tradeline. Note that section 1681s-2(b) of the Fair Credit Reporting Act creates a
cause of action for a consumer against a fumisher of erroneous credit
information (Nelson v. Chase Manhattan).

Please know that you have 30 days from the tracked and confirmed delivery of
this lawful notice to either answer these demands or to remove the associated
negative tradellne notations from the CRA reports. Any other action may
constitute evidence of your intent to abridge one or more civil or other
constitutional rights. Please be further advised that continued unsubstantiated

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Case 2:12-cv-07834-.])9€l?&$ Document 3 Filed 09/25/12 Page 20 of 38 Page |D #:62

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“A Profess/'ona/ Collection Corporation”

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26575 w. AGouRA iavo
cALABAsAs, cA 91302
(sia) ara-1100

(aoo) 333-1656

FAx (818) 818-7731

Case 2:12-cV-07834-.]AK-SS Document 3 Filed 09/25/12 Page 21 of 38 Page |D #:63

August 1, 2012

Muntasir A. Shamsiddeen
5341 Arlington Ave.
Los Angeles, CA 90043

RE: Olympia |\/ledical Center
Certified l\/|ail: #7011 2970 0002 5806 2828
Client No.: #V00105218288
Our Account No.: #OLY932/008225156/034

Principal: $ 1000.00
|nterest: $ 155.55
Balance Due: $ 1155.55

Dear Muntasir Shamsiddeen:

2893 SUNR|SE BLVD., SU|TE 210
RANCHO CORDOVA, CA 95742

(877) 661-1656
(916) 631-9040
FAx (916) 631-3631

This letter serves as confirmation that Grant & Weber has received your certified letter dated July 26,

2012.

Per your request, we have enclosed an ltemized Statement on account #V00105218288. Your receipt of
the enclosed ltemized Statement provides you with a validation of debt. Please note that the ltemized

Statement only entails the principal balance of $1000.00 and not the accruing interest

lf you have any questions or concerns regarding this matter, please contact the undersigned

Very truly yours,

GRANT & WEBER

fz~ meyct
R. |\/lendoza
(800) 333-1656 Ext. #7789

This is an attempt to collect a debt by a debt collector. Any information obtained will be used for that

purpose.

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July 31, 2012

Address Service Requested

#BWNFTZF #GWW8880332112077#
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333 - OLY932 /008225156 / 002
MUNTASlR A SHAMS|DDEEN
5341 AFiLlNGTON AVE

LOS ANGELES CA 90043-2616

Filed csa/MLRANY c&SWaEBE<R

"A Professional Collection Corporation" (800)333-1656
(800) 333-1656

Re: OLYMPIA MEDICAL CENTER
Acct. No.: V00105218288
Our Acct No.: 008225156

Principal: $l ,000.00
Interest: 8155.28
Balance Due: Sl,155.28

Send To:

Grant & Weber

PO BOX 8669

CALABASAS, CA 91372-8669
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M¢ /% /6’,5/¢)).$€, W,¢/

Dear Muntasir A Shamsiddeen:

Per your recent communication we have updated your credit report to show the collection
account at Grant & Weber has been "disputed by the consumer".

Should you desire to discuss resolution of "the dispute" contact the undersigned

This is an attempt to collect a debt by a debt collector. Any information obtained will be used for
that purpose Grant & Weber may record any or all phone calls

Very truly yours,
GRANT & WEBER

By; s_ PRICE
(800)333-1656

Choosing to pay by credit card shall be your agreement to also pay a $3.95 transaction fee Which

shall be added to the amount authorized above

 

Please charge my:

l:| VlSA |:l MASTERCARD

 

lf you choose to pay by credit card, fold

on the line above and return entire letter

 

For the Amount of $ (+ $3.95 transaction fee)
Card Number
/
Sigrawre Exp. Date Security Code
(3 digit code on the back of card)
OLY932 / 008225156 / 002

 

 

Grant & Weber 02657 5 W Agoura Road oCalabasas, CA 91302 0(800)333-1656
Member of Experian %,

 

 

GWW333-0731-278228249 2867

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§§a@§§§é§il§q§y§gg§4-JAK-SS Document3

July 31 , \2012

Address Service Flequested

#BWNFTZF #GWW8880332612076#
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833 - OLY932 /008718506 /098
MUNTASlR A SHAMS|DDEEN
5341 AFiL|NGTON AVE

LOS ANGELES CA 90043-2616

Filed OQ/QQRANZE @&SVMEEBEB

"A Professional Collection Corporation" (818)87 l -7796
(800) 333-1656

Re: OLYMPIA MEDICAL CENTER
Acct No.: V00105206310
Our Acct. No.: 008718506

Principal; 8500.00
interest $92.24
Balance Due: $592.24

Send To:

Grant & Weber

PO BOX 8669

CALABASAS, CA 91372-8669
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Dear Muntasir A Shamsiddeen:

Per your recent communication We have updated your credit report to show the collection
account at Grant & Weber has been "disputed by the consumer".

Should you desire to discuss resolution of "the dispute" contact the undersigned

This is an attempt to collect a debt by a debt collector. Any information obtained will be used for
that purpose Grant & Weber may record any or all phone calls.

Very truly yours,
GRANT & WEBER

By; J. RAMOS
(818)871-7796

Choosing to pay by credit card shall be your agreement to also pay a $3.95 transaction fee which
shall be added to the amount authorized above

Please charge my:

[] VISA |:| MASTERCARD
If you choose to pay by credit card, fold

 

 

For the Amount of $ (+ $3_95 transaction fee)
_ _ _ on the line above and return entire letter.
Card Number
/
Signature Exp. Date Security Code
(3 digit code on the back of` card)
oLY932 /008718506 / 098

 

 

Grant & Weber 026575 W Agoura Road oCalabasas, CA 91302 0(818)871-7796
Member of Experian

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Case 2:12-cV-07834-.]AK-SS Document 3 Filed 09/25/12 Page 24 of 38 Page |D #:66

4108 MARATHON STREET # 307
LOS ANGELES, CA 90029

MUNTASIR A. SHAMSIDDEEN : op

GRANT & WEBER
26575 AGOURA ROAD
CALABASAS, CA 91302-1958

Re: Acct # 008225156****
Re: amount: 1,000.00

Date: AUGUST 25, 2012
Re:' Acct # 008225156****
To Whom It May Concern:

I have previously sent you a request to validate my debt, account number 008225156**** dated
June 01, 2012 and resent certified mail on July 26, 2012. Under the Fair Debt Collections
Practices Act (FDCPA), I have the right to request validation of the debt you say I owe you. I
have given you 30 days to remedy the situation, which is a very reasonable period. I have
received no reply from you, though I did receive confirmation via mail that you did receive my
letter on July 28, 2012.

Since you are still reporting this account on my credit report, you are now in violation of the
FCPDA, and are now subject to fines of $1000, which I may collect from you by filing a claim in
Federal court. I intend to follow through with the suit ifI do not hear back from you within 10
days.

You should also be aware that reporting such invalidated information to major credit bureaus
might constitute defamation of character, as the negative marks on my credit report harm my
credit and prevent me from enjoying all the benefits of good credit. I'm sure your legal staff will
agree that non-compliance with this request could put your company in serious legal trouble with
the Fl'C and other state or federal agencies.

I look forward to hearing from you,

MUNTASlR A. SHAMSlDDEEN
(W ithout Prej udice)

4108 MARATHON STREET #307
LOS ANGELES, CA 90029

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4108 MARATHON STREET # 307
LOS ANGELES, CA 90029

MUNTASIR A. SHAMSIDDEEN Op

GRANT & WEBER
26575 AGOURA ROAD
CALABASAS, CA 91302-1958

Re: Acct # 008718506****
Re: amount: $ 500.00

Date: AUGUST 25, 2012

Re: AcCl; # 008718506****

To Whom It May Concern:

I have previously sent you a request to validate my debt, account number 008718506**** dated
June 01, 2012 and resent certified mail on July 26, 2012. Under the Fair Debt Collections
Practices Act (FDCPA), I have the right to request validation of the debt you say I owe you. I
have given you 30 days to remedy the situation, which is a very reasonable period. I have
received no reply from you, though I did receive confirmation via mail that you did receive my

letter on July 28, 2012.

Since you are still reporting this account on my credit report, you are now in violation of the
FCPDA, and are now subject to lines of $1000, which I may collect from you by filing a claim in
Federal court. I intend to follow through with the suit ifI do not hear back from you within 10

days.

You should also be aware that reporting such invalidated information to major credit bureaus
might constitute defamation of character, as the negative marks on my credit report harm my
credit and prevent me from enjoying all the benefits of good credit. I'm sure your legal staff will
agree that non-compliance with this request could put your company in serious legal trouble with
the l'-TC and other state or federal agencies.

I look forward to hearing from you,

MUNTASIR A. SHAMSIDDEEN
(Without Prejudice)

4108 MARATHON STREET #307
LOS ANGELES, CA 90029

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A world of insight

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_ Potentially Negative |tems or items for Fur‘ther Review
Are you at risk for

l D ENT| l v 0 What does potential|v neq_a_tive or items for further review mean? 0 What if 1 feel there is an error?

 

 

TH EFT? 0 What ifl think listed accounts are dug|icates?
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Help reduce your risk Know your rights
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GRANT 81 WEBER
z Add Triple . . .
" A| tSM C d Address: Account Number: Crlglnal Credltor:
er re 26575 wEsT AcouRA Rvo 008718506 OLYMP'A MED'CA'- CENTER
M onitoring l cALABAsAs, cA 91302
f (818) 878-7700

Address ldentitication Number: 0205938065

 

 

Status: Status Details:
Collection aocount. $500 past due as of Aug 2012. This account is scheduled to continue
- on record until Jun 2017.
G€t the SCO|'E! , This item remained unchanged from our
Add your processing of your dispute in Ju| 2012.
Credit Score
for only 57.95
ci_:_ us 0 Date Opened: Type: Credit Limit:
` ` " ’ -J 01/2012 Collection $500
Date of Status: Terms: High Balance:
03/2012 1 Months N/A
Reported Since: Monthly Payment: Recent Balance:
03/2012 $0 $500
Last Reported Date: Responsibility: Recent Payment:
08/2012 individual $0

 

Payment history legend
<j)l< Currentherms of agreement met /‘ii`~l Vo|untari|y surrendered
30 Account 30 days past due R Repossession }S

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120 Account 120 days past due

150 Account 150 days past due

180 Account 180 days past due
CRD Creditor received deed

FS Forec|osure proceedings started

Case 2:12-cv O§SS?§:IHK ;: §§:cj§§ient 3

§§§I,§‘§ZM§: Page 29 o 38 Page iD #:71

6 Claim filed with government
t') Defaulted on contract
C Collection

CG Charge off

C,L.S Closed

 

F~` Forec|osed ND No data for this time period
Payment History:
2012
AUG JUL JUN MAY APR MAR
o ND ND ND ND o
Account History:

Collection as ofAug 2012. Mar 2012

Your Statement:

Fair Credit Reporting Act).

©E)<perian 2012. A|i rights reserved

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Account information disputed by consumer (Meets requirement of the

Add a statement ::~::-

   

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hrms: l /www.exnerian.com/consumer/cac/ReportPotentia|lyNegative|temsCreditDetail.do?itemld= 1

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. A world of insight

 

 

 

 

 

 

 

 

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_ Potentia|ly Negative items or items for Further Review
Are you at risk for
l D ENT|]'Y 9 What does potentially negative or items for further review mean? 9 What if l feel there is an error?
9 9 What lfl think listed accounts are duplicates?
TH EF l .
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Help reduce your risk _ m
Y r re ort n mb ri _\LM_
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2476-6894-28
Report date: September 02, 2012

from Experian‘

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Dispute this item ;:-::-

   

GRANT 81 WEBER

Address: Account Number: Origi"a| Credit°'=
26575 WEST AGouRA RoAD 008225156 OLYMP'A MED'CAL CENTER

cAi_ABAsAs, cA 91302
(818) 878-7700

Address ldentification Number: 0205938065

 

 

Status: Status Details:
, Collection account $1,000 past due as of Aug 2012. This account is scheduled to continue
on record until Oct 2017.
_' G€t the SCOI'€! This item remained unchanged from our
i Add your ' processing of your dispute in Jul 2012.
Credit Sc.ore
for only 57.95
Date Opened: Type: Credit Limit:
06/2011 Collection $1,000
Date of Status: Terms: High Balance:
10/2011 1 Months N/A
Reported Since: Monthly Payment: Recent Balance:
10/2011 $0 $1,000
Last Reported Date: Responsibility: Recent Payment:
08/2012 lndividual $0

 

Payment history legend
Ol< Current/Terms of agreement met `\/&i Voluntarily surrendered
30 Account 30 days past due l:-’\ Repossession 3a

 

https: / /www.experian.com/consumer/cac/ReportPotential|yNegativeltemsCreditDetai|.do?item|d=O 1/2

00 Account60d spastdue ' v PE_SC Paidb creditor
CaSe 2:12-0 OC]B%&J@` sgggugnent?> Erleql,, ,2¢'§/¢5\€,2n Page 31 o 38 Page lD #:73

-,_, __

 

\ » _ 120 Account 120 days past due G Claim filed with government
150 Account 150 days past due D Defaulted on contract
180 Account 180 days past due 0 Collection
CRD Creditor received deed CO Charge off
FS Forec|osure proceedings started CL_S Closed
F Foreclosed N D No data for this time period
Payment History:
2012 2011

AUG JUL JUN MAY APR MAR FEB JAN DEC NOV OCT
C ND ND ND Nl) Nt.`) ND ND ND ND C

Account History:
Collection as ofAug 201 2, Oct 2011

   

Your Statement Add a statement ;:;::-
Account information disputed by consumer (Meets requirement of the

Fair Credit Reporting Act).

 

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https://www.experian.com/consumer/cac/ReportPotentia|lyNegativeltemsCreditDetail.do?itemld=O 2/2

Case 2:12-cV-O7834-.]AK-SS Document 3 Filed 09/25/12 Page 32 of 38 Page lD #:74

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cv pp / ' / GU (external genitalia)
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Chest (breasts) n Rectal
Gl (abdomen) W//M% M/ Neu"° (;l/// /)J///M
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El STl screening done
E| Preconception counseling

 

 

 

 

 

 

M/Mmr

V Clinician Signatur€ `

 

Name/Stamp

 

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dM,§€}z§(;ase 2:12-cV-O7834-.]AK-SS Document3 Filed 09/25/12 Page 33 of38 P®@MMES' :Final

 

 

 

 

 

 

 

 

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§ _ ~ y // ,, § HAMSIDDEEN, MUNTASIR
r//'Z))/v"’,¢b>d
§ Patient Information Specimen Information \v ‘. ' ' / Client Information
§ Requisition: 0019020 PARTOVI, SUSAN M
§ DOB: 04/27/1954 AGE: 58 CC-THE SABAN FREE CLINIC
§ G°“de_r= M corrected 08/15/2012 A“": HOLLYWOOD CENTER
§ Ph?“°~ _213~273~4041 Received; 08/16/2012 /00;25 PDT 343 HOLLYWOOD BLVD
§ Pa“em ID~ 364440 Reponed; 08/16/2012 / 14;59 PDT S ANGELES’ CA 90°28'5411
§ C()MMENTS; NP GREEN, GRETA
Test Name In Range Out Of Range Reference Range Lab
LIPID PANEL
CHOLESTEROL, TOTAL 189 125*200 mq/dL EN
HDL CHOLESTEROL 55 > OR = 40 mq/dL EN
TRIGLYCERIDES 85 <150 mg/dL EN
LDL_CHOLESTEROL 117 <130 mg/dL (CalC) EN

Desirable range <lOO mg/dL for patients with CHD or
diabetes and <70 mg/dL for diabetic patients with
known heart disease.

CHOL/HDLC RATIO 3.4 < OR ~ 5.0 (CalC) EN
NON-HDL CHOLESTEROL 134 mg/dL (CalC) EN

Target for non-HDL cholesterol is 30 mg/dL higher than
LDL cholesterol target.

COMPREHENSIVE METABOLIC EN
q PANEL
GLUCOSE 110 H 65-99 mg/dL
E`¥ Fasting reference interval
id UREA NITROGEN (BUN) 12 7-25 mg/dL
\d cREATININE 1.18 0.70-1.33 mg/dL
§ For patients >49 years of age, the reference limit
`§z for Creatinine is approximately 13% higher for people
w identified as African-American.
\. eGFR NON-AFR. AMERICAN 68 > OR = 60 mL/min/l.73m2
eGFR AFRICAN AMERICAN 78 > OR = 60 mL/min/l.73m2
`§i BUN/CREATININE RATIO NOT APPLICABLE 6-22 (calc)
\> soDrUM 139 135-146 mm<>i/L
§ PorAssIUM 4.8 3.5-5.3 mmol/L
CHLORIDE 103 98~110 mmol/L
CARBON DIOXIDE 26 21-33 mmOl/L
CALCIUM 10.8 H 8.6-10.3 mg/dL
PROTEIN, TOTAL 7 2 6.2-8.3 g/dL
ALBUMIN 4.3 3.6-5.1 g/dL
GLOBULIN 2.9 2.1-3.7 g/dL (calc)
ALBUMIN/GLOBULIN RATIO 1.5 1.0~2.1 (Calc)
BILIRUBIN, TOTAL 0.9 0.2-1.2 mg/dL
ALKALINE PHOSPHATASE lOl 40-115 U/L
AST 28 10~35 U/L
ALT 26 9-60 U/L
HEMCGLOBIN Alc <5.7 % Of total Hgb EN
Higher risk of diabetes
<5.7 Decreased risk of diabetes
5.7~6.0 Increased risk of diabetes
6.1-6.4 Higher risk of diabetes
> or = 6.5 Consistent with diabetes
Standards of Medical Care in Diabetes-ZOlO.
CLIENT SERVICES‘ 866'697`8378 Prinmsb§§a%§%§£n£§/§§nzds%g#z aros:ooam. PAGE l OF 2
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§,;§;ase 2:12-cV-O7834-.JAK-SS Document3 Filed 09/25/12 Page 34 of 38 PaMli£}t¢g¢Z&S;Final

 

 

 

 

 

 

Test Name In Range Out Of Range Reference Range
Diabetes Care, 33(Supp l): Sl-S61,2010.
TSH 2.19 0.40-4.50 mIU/L
CBC (INCLUDES DIFF/PLT)
WHITE BLOOD CELL COUNT 6.0 3.8-10.8 Thousand/uL
RED BLOOD CELL COUNT 4.22 4.20-5.80 Million/uL
HEMOGLOBIN 14.3 13.2-17.1 g/dL
HEMATOCRIT 42.9 38.5-50.0 %
MCV 101.7 H 80.0-100.0 fL
MCH 33.8 H 27.0~33.0 pg
MCHC 33.3 32.0-36.0 g/dL
RDW 12.4 11.0-15.0 %
PLATELET COUNT 157 140-400 Thousand/uL
ABSOLUTE NEUTROPHILS 3006 1500-7800 CellS/uL
ABSOLUTE LYMPHOCYTES 2280 850-3900 CellS/uL
ABSOLUTE MONOCYTES 414 200~950 CellS/uL
ABSOLUTE EOSINOPHILS 288 15-500 CellS/uL
ABSOLUTE BASOPHILS 12 0-200 cells/uL
NEUTROPHILS 50.1 %
LYMPHOCYTES 38.0 %
MONOCYTES 6.9 %
EOSINOPHILS 4.8 %
BASOPHILS 0.2 %
PSA, TOTAL O 6 < OR = 4.0 ng/mL

This test was performed using the Siemens
chemiluminescent method. Values obtained from
different assay methods cannot be used
interchangeably. PSA levels, regardless of
value, should not be interpreted as absolute
evidence of the presence or absence of disease.

PERFORMING SITE:

EN QUEST DIAGNOSTICS-WEST HILLS. 840| FALLBROOK AVENUE. WEST HlLL.S. CA 91304-3226 Laborarory Direcxor: LEE H. HlLBORNE. MD. CLIA: 05D0642827

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§ ‘ ' » sHAMsn)DEEN, MUNTASIR
§ Patienf Infol'mafioll Specimen Information Client Information """
§ SHAMSIDDEEN’ MUNTASIR Specimen: EN882139A Client #: 76070379

§ Collected: 08/15/2012 PARTOVI, SUSAN M

§ DOB; 04/27/1954 AGE; 58 Received: 08/16/2012 / 00:25 PDT

§ Gender; M Reponed; 08/16/2012 / 14;59 PDT

§ Patient ID: 364440

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Case 2:12-cV-O7834-.]AK-SS Document 3 Filed 09/25/12 Page 35 of 38 Page |D #:77

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSlGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

' This case has been assigned to District Judge John Kronstadt and the assigned discovery
Maglstrate Judge is Suzanne H. Segal.

The case number on all documents filed with the Court should read as follows:

CV12- 7834 JAK (SSx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[__] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASSlGNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR DlSCOVERY

Case 2:12-cV-O7834-.]AK-SS Document 3 Filed 09/25/12 Page 36 of 38 Page |D #:78

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

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SUMMONS

 

 

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A lawsuit has been filed against you.

Within 9`/ days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached g complaint l:l amended complaint '

[l counterclaim l:] cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or otion must be served on the plaintist attomey, ' ' ' , / , whose address is
/ t j§&<'b . If you fail to do so,

 

judgment by default will be entered against you for`the relief demanded in the complaint You also must file
your answer or motion with the court.

SEP 2 5 20l2
Dated:

 

 

[Use 60 days if the defendant is the United States or a United States agency, or is an ojj‘icer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

FOR OFFlCE USE Oi\il.Y

CV~Ol A (lO/ll SUMMONS

 

 

ease 2:12-cv-07834LJA1<133"' Documen`r 3 "Filed 09/25/12 Page 37 of 38 Page 10 #:79
' UNITED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CALIFORNIA

8

l (a) PLAINT|FFS (Check box if you are representing yourself m

?/Wll/' ~l[%$/l'» /7{’ fws)o'aéy,u

CIVIL COVER SHEET

DEFENDANTS

  

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(b) Attomeys (Firm Name, Address and Telephone Number. lf you are representing

yourself, provide same.)

Mu~lww A, fhww.oosm P.o. 601 50 1203
Les Am;clcs . CAL.?Q_osr,,

310 712 S‘l¢+"l

Attorneys (1f Known)

 

ll. BASIS OF JURlSDlCTlON (Place an X in one box only.)

5 l U.S. Govemment Plaintiff

5 2 U.S. Govemment Defendant

53

Federal Question (U.S.

Govemment Not a Party)

5 4 Diversity (1udicate Citizenship

of`Parties in ltem 111)

lV. ORlGIN (Place an X in one box only.)

§ 1 Original
Proceeding

Appellate Court

 

 

111. ClTlZENSHIP OF PRlNClPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

PTF
Citizen of This State 5 1
Citizen of Another State 5 2

Citizen or Subject of a Foreign Country 5 3 5 3

Reopened

DEF
5 1

Incorporated or Principal Place

PTF
54

DEF
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of Business in this State

52

lncorporated and Principal Place 5 5

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of Business in Another State

Foreign Nation

5 2 Removcd from 5 3 Remanded from 5 4 Reinstated or 5 5 Transferred from another district (specify): 5 6 Multi-
State Court District

Litigation

56 56

5 7 Appeal to District
Judge from
Magistrate ludge

 

V. REQUESTED lN COMPLAINT: JUR¥ DEMAND: g Yes 5 No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: 5 Yes BNO

z MoNEY DEMANDEI) 1N coMPLAlNT= s 45 f ,Q, 000

Vl. CAUSE OF ACTION (Cite the U.S. Civi| Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
~'FDrPA »1(239. visug. '

Vll. NATURE OF.SUIT (P|ace ao X in one box only.)

   

 
 

 
 

 

 

 

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5 430 Banks and Banking 5 130 Miller Act m 315 Airplan€ Product 5 370 Other Fraud Vacate Sentence 5 720 LaborHVlgmt.
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Reces/ete. 1:1150 Recovery er 13 320 ASSH“"» le€l & 1:1 380 0r11er1>enene1 1;1530 Genernl 1:1 730 Laber/Mgmr.
5 460 Deportation Overpayment & Sla"de’ , Prop€rty Damage 5 535 Death Penalty Reporting &
5 470 Racketeer lnfluenced Enforcement of m 330 F‘_’d‘,E_mP|°y°'S 5 385 Property Damage 5 540 Mandamus/ Disclosure Act
end cennpr Judgrnenr U 340 'l;;::‘l::-‘/ Product Liebm` other 1:1 740 runway Leber Act
Organizations 5 151 Medicare Act n 345 Marine Product 5 550 Civil Rights 5 790 Other Labor
p480 Consumer Credit 5 152 Recovery of Defaulted liability 5 422 Appeal 28 USC _` Pri§pn djr' n Lirigarion
5 490 Cable/Sat TV Student Loan (Excl. m 350 Mowr Vehicle 158 5 791 Empl_ Rer_ ln¢_
5 810 Selective Service Veterans) g 355 Mmm_ Vehide 5 423 Withdrawa| 28 S 'ry A;r
5 850 Secunt1es/Commod1t1es/ 5 153 Recovery of product liability 7 ` Agnculture _ ` _
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5 875 Customer Challenge 12 Veteran‘s Benef'rts injury 5 441 Votmg Drug 5 830 Patent
USC 3410 5 160 Stockholders’ Suits g 362 personal injury_ 5 442 Employment 5 625 Drug Related mark
5 890 Other Statutory Actions 5 190 Other Contract Med Malpmctice 5 443 Housing/Acco- Seizure of _ y
5 891 Agricultural Act 5 195 Contract Product 13 365 Per-sonat injury. mmodations Property 21 USC 5 861 HIA (1395£1')
5 892 Economic Stabilization Liability Product Liability 5 444 W€lf&l’€ 881 5 862 Black Lung (923)
Act ` w 5 368 Asbestos Personal 5 445 American with 5 630 Liquor Laws 5 863 DlWC/DIWW
5 893 Environmental Matters § lnjury Product Disabilities - 5 640 R.R & Truck (405(g))
5 894 Energy Allocation Act 5 210 Land Condemnation Liabili Employment 5 650 Airline Regs 5 864 SSlD Title XVl
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nation Under Equa| 5 240 Torts to Land APP“°°“°“ Oth€r 5 690 Other 5 870 Taxes (U.S. Plaintiff
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Actions
C V l 2 ~ 7 8 3 ll
FOR OFFlCE USE ONLY: Case Number:

 

AF]`ER COMPLETING THE FRONT SlDE OF FORM CV -71, COMPLETE THE lNFORMATlON REQUESTED BELOW.

 

CV~71 (05/08)

ClVlL C()VER SHEET

Page l of 2

7ease 2:12-cv-07334-5A1{§'Ss' 7 bocu‘menra' 1=11@0 oQ/éS/iz l Page 38 of 38 Page 10 #:so
` z » UNITED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CALlFORNIA
" CIVIL COVER SHEET

s

Vm(!). lDENTICAL CASES: Has this action been previously filed in this court and dismissed remanded or closed? §(No 5 Yes
lfyes, list case mnnber(s):

 

Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present ease? BNo 5 Yes
lfyes, list case number(s):

 

Civll cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) 5 A. Arise from the same or closely related transactions, happenings, or events; or
5 B. Call for determination of the same or substantially related or similar questions of law and fact; or
5 C. For other reasons would entail substantial duplication of labor if heard by dilierentjudges; or
5 D. Involve the same patent, trademark or copyright an_d one of the factors idenliEed above in a, b or c also is present

 

lX. VENUE: (When completing the following infomiation, use an additional sheet if necessary.)

(a) List the Co\nity in this District; California Coimty outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides.
5 Check here if` the government1 its agencies or employees is a named plaintiff lf this box is checked, go to item (b).

Coimty in this District:* Califomia County outside of this District; State, if other than Califomia; or Foreign Country

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(b) List the County in this Distri'ct; California County outside of this District; State if other than Califomia; or Foreigu Country, in which EACH named defendant resides
5 Check here if' the govemment, its agencies or employees is a named defendant lf this box is checked, go to item (c).

County in this Distn`ct:* California County outside of this District; State. if other than Califomia; or Foreign Country

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(c) List the Comity in this Distn’ct; California Cotmty outside of this District; State if other than Califomia; or Foreign Country, in which EACl-l claim arose.
Note: ln land condemnation cases, use tile location of the tract of land involved

Co\mty in this District:* California County outside of this District; State. if other than Califomia; or Foreign Country

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* Los Angeles, Oraoge, San Bemardino, Riverside, Ventnra, Santa Barbara, or San Luis Obispo Counties
Note: ln land condemnation use the location of the tract of land involved

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

X. SlGNATURE OF ATI'ORNEY (OR PRO PER): l / , ate ?//J;/J‘¢/J~

Notice to Counsel/Parties: The CV-7l (JS-44) Civil Cover Sheet and-the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This forrn, approved by the Judicial Conf`erence of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instmctions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:
Nature of Suit Code Abhreviation Substandve Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nm'sing facilities, etc., for certification as providers of` services under the
program (42 U.S.C. l935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child‘s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DlWW All claims nled f`or widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments bued upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSl All claims for retirement (old age) and survivors benefits under Title 2 of the Social Secun`ty Act, as amended (42
U.S.C. (g))

 

CV-7l (05/08) CIVIL COVER SHEET Page 2 of 2

